Case 2:15-cV-02279-.]AD-GWF Document 33 Filed 09/14/18 Page 1 of 3

_._,

4 September, Common Era 2018

 

. ____F|LED ______RECEWED
Debra I_(. K§mpl, C].El’k __ENTERED ___ __SERVED ON
U_S_ meager court couNsEL/PARTlEsoFREconn
District of Nevada
333 l.asVegas Blvd. South
Las vegas, Nv 391@1-7065 SEP 14 2018
Via: USPS Tracld.ng No. 911!+ 9014 9645 1693 9531 00

 

 

 

 

, ¢.. 1 . 31 _ _7 _ CLERKUS DlSTR|CT COURT
Re. ..ase ho 2.-5-cv 22 9 JAD-GWE` D|sTR|cT OF NEVADA

 

DEPU'W

 

 

 

Greetings Ms . Kempi:

on June 21, 2017 you entered your Clerk.'s J\_dgment, ECF No. 24, in favor of Defen-
dants and against l’lainti.ff. Additionally, the Jud@ent in a Civil Case form at "Deci-
sion by Court" has been checkm instead of "Notice of Acceptance with Offer of Judgment,"
indicating a notice of acceptance with offer of judgment has been filed in this case.

A simple cursory review of the case docket will immediately reveal that '*`L£._F' Nce.
7, 8 and 9, which are three Notice of Acceptance with Offer of Judgment, one for each de-
fendant, were filed by the plaintiff with the coLTt.

You as clerk are undoubtedly aware and conversant with Fed.R.Civ¢P. Rule. 68 (a). As
smh, you knew or should have known when this plaintiff filed her acceptances of the Rule
68 Offer of Judgment for each defendant, that you have no discretion , whatsoever, but to
do one thing and one thing oniy, to enter judgment in this matter.

Despite Fed.R‘Civ.I~‘. 68 (a) mandating that you MUST enter the offer of judgment, you
instead elected not to do your ministerial duty and enter the Rule 68 Offer of Judgment.
Your withholding of its entry frustrates the agreement between the parties.

In the ensuing months from September 7, 2016 thru June 21, 2017_. the trial court im-
properly interfered with this case rendering dispositive orders, clear errors, rdnich are
NULL and VOID on their face due to the self-executing nature and settlement agreement
quality of this case file accepted Rule 68 (a) Notice of Acceptance with Offer of Judgmenti
that black letter case law disallows and prohibits such judical behavior.

As recently as digest 25, 2018 the trial court denied this defendant's 60 (a) motion
for correction of your Clerk's Judguent based upon clerical mistakes, oversights or omis-
sions.

This defendant has sent to you his Fed.R.Civ. . 59 (e) motion for reconsideration of
the trial court's W No. 31 order,,dated August 31, 2018, seeking an order directing Y°U
to modify your judgment with checking "Notice of Acceptance. with 0£fer of JudgnK-:nt" on
your Judgment in a Civil Case form for the above referenced matter.

'Ihis matter does not have to over-burden the sparse judicial resources of this Court
which can be judiciously handled by you with the entering of a check within the box at
"Notice of Acceptance with Offer of Judgment",on your Judgment in a Civil Case form,

Additionally, you have yet to do your ministerial duty regarding this Rule 68 Offer
of Judg\nent, which mlequivocally mandates your ministerial duty to enter it pursuant to
law.

In light of die foregoing, coupled with the fact that by refusing to do so, you con-
tinue to impair the obligations of contract (the accepted Rule 68 Offer of Judgment) be-
tween the parties in the case. To hel with your delibel;'ationsi,2 it is encouraged that
you peruse this defem'lant's Rule 59 (e motion for reconsideration, which should assist
you greatly.

It is hoped that you will see your way clear and do what justice demands, and not
rely or wait for the trial court to act , to simply enter the Rule 68 Offer of Judgment.

Case 2:15-cV-02279-.]AD-GWF Document 33 Filed 09/14/18 Page 2 of 3

4 September, CE 2018
Debra K. Kempi, Clerk
Page 2

With a level eye on resolution of this situation, thank you for your right-hand in
kimness and prompt attention to this matter. In Peace and light, l remain

Sincerely ,

 

 

WILLIAM OSCAR HARRIS
Defendant

FCI-THA, 40743050

PO BOX 33

'.[`ERRE HAUI`E, IN 47808

cc: V.V. Bailey, Pla:intiff
IS.W. Taylor, POA (3 defendants)
ile

Case 2:15-cV-02279-.]AD-GWF Document 33 Filed 09/14/18 Page 3 of 3

 

  
     

  
  

   

‘- gravel-l annum "
vonEvr:n 1

. »

 

gravle 1 sand `
y '_
~ ponr.vcn;usA

t ¢.

 

 

a

‘;., UNITDSTATES'
POSTAL SE?VICE o

USPS TRACK|NG #

|| §
§
§
§

9114 9014 9645 1693 9531 00
_

t

»-me~.

7680-1 6-000-7948
ames

 

 

 

   

 

<;;>'f'¢ ns mG‘»-¥

NOL|.n.Ll.LSN| `lVNOl.l.QEUHO‘.’)

 

 

